 

IN THE UNITED STATES DISTRICT COURT
FOR THE MIDDLE DISTRICT OF TENNESSEE
NASHVILLE DIVISION

SMITHWAY MOTOR XPRESS, INC.,
WESTERN EXPRESS, INC., and
NATIONAL CASUALTY COMPANY,
No. 3:12-cv-01063
Plaintiffs,
Judge Nixon
v. Magistrate Judge Brown
JAMES A. SCOTT & SONS, INC., JURY DEMAND

individually, and d/b/a SCOTT
TRANSPORTATION SERVICES

and d/b/a SCOTT TRANSPORTATION
and d/b/a SCOTT INSURANCE;

and REGIONS INSURANCE, INC.,
individually, and d/b/a INSURISK
EXCESS AND SURPLUS LINES,

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Defendants.
ORDER

Pending before the Court is Defendant J ames A. Scott & Sons, Inc.’s (“Scott and
Sons”) Corrected Motion for Remand (“Motion”) (Doc. No. 9), flled with a
Memorandurn in Support (Doc. No. 8). Plaintiffs Smithway Motor Xpress, Inc., Western
Express, Inc., and National Casualty Company (“Plaintiffs”) have not responded in
opposition. Defendant Regions Insurance, Inc., (“Regions”) also has not responded. For
the reasons given below, the Motion is GRANTED, and this action is REMANDED to
state court.
I. BACKGRoUND

On September 17, 2012, Plaintiffs filed a Complaint against Defendants Regions
and Scott and Sons in the Circuit Court for Davidson County, Tennessee. (Doc. No. l-l,

ex. A.) On October 17, 2012, Regions flled a Notice of Rernoval of the state court action

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in this Court. (Doc. No. l.) On November 15, 2012, Scott and Sons filed the instant
Motion for Remand, arguing that it did not consent to removal and that the action should
be remanded to state court. (Doc. No. 9.)

II. ANALYsls

Under 28 U.S.C. § l44l(a), “civil actions brought in a State court of which the
district courts of the United States have original jurisdiction, may be removed by the . . .
defendants to the district court of the United States for the district and division embracing
the place where the action is pending.” Section l446(b)(2)(A) further directs that “when
a civil action is removed solely under section l44l(a), all defendants who have been
properly joined and served must join in or consent to the removal of the action.” Regions
asserts that this Court has original jurisdiction under § 1332, which provides, “the district
courts shall have original jurisdiction of all civil actions where the amount in controversy
exceeds the sum or value of $75,000 . . . and is between . . . citizens of different states.”
(Doc. No. l at 2.) Therefore, for this case to have been properly removed under §
l446(b)(2)(A), all Defendants needed to join in or consent to removal.

Scott and Sons is not a signatory to the Notice of Removal, and Regions does not
assert that Scott and Sons consented to the same. (See Doc. No. l.) In fact, Scott and
Sons expressly stated in the Motion to'Remand that it does not consent to removal. (Doc.
No. 8 at 2.) Thus, the Court finds that Scott and Sons never joined in or consented to
removal of this action, and therefore, removal was inappropriate under section
l446(b)(2)(A). See Loftis v. United Parcel Serv. , Inc., 342 F.3d 509, 516 (6th Cir. 2003)
(“Failure to obtain unanimous consent forecloses the opportunity for removal under

section 1446.”).

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III. CoNCLUsIoN

For the reasons above, the Motion is GRANTED, and this action is REMANDED to the
Circuit Court for Davidson County, Tennessee.
It is so ORDERED.

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This the Z / day of February, 2013.

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SENIOR JUDGE JOHN T. NIXON
UNITED STATES DISTRICT COURT

 

 

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